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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                  )                             Chapter 11
                                        )
                                        )                             Case No. 18-11494
EDUCATION MANAGEMENT II, LLC, et al.1 )
                                        )
                                        )
            Debtors.                    )
_______________________________________ )

              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
          OVERVIEW OF METHODOLOGY AND DISCLAIMERS REGARDING
                     DEBTORS’ SCHEDULES AND SOFAS

        Education Management II, LLC (the “Company”) and its affiliated debtors and debtors in
possession (collectively, “Debtors”) hereby file their respective Schedules of Assets and
Liabilities (“Schedules”) and Statements of Financial Affairs (“SOFAs”) in accordance with
section 521 of title 11 of the United States Code (“Bankruptcy Code”) and Rule 1007 of the
Federal Rules of Bankruptcy Procedure.

                                                    Background

       A.      Through organic growth and acquisitions, the Company and its affiliated entities
became among the largest providers of postsecondary education in North America, operating 110
primary locations across 32 U.S. states and in Canada. The Company and its affiliated entities’
schools were organized into four separate education systems: The Art Institutes; South
University; Argosy University; and Brown Mackie Colleges.

        B.     Each of the schools located in the United States was recognized by accreditation
agencies and by the U.S. Department of Education, enabling students to access federal student
loans, grants and other forms of public and private financial aid.

       C.       The Company and its affiliates experienced deteriorating results from operations
over the last several fiscal years due to the stagnant U.S. economy, the substantial decrease in the
availability of private lending sources to fund tuition and fees, the loss of federal and state
support for student financial aid, the impact of adverse publicity related to the for profit
education industry, student concerns about incurring debt to fund their education, the impact of
new regulations, and inability to increase tuition rates, among other factors. The number of
students attending the Company and its affiliated entities’ post-secondary institutions contracted



1
  Debtors anticipate that the trustee appointed in these chapter 7 cases will seek joint administration of all cases
under the Education Management II LLC case. As a result, Debtors are not separately listing each debtor and case
number on this caption. A listing of all debtors in these cases, and the last four digits of their respective federal tax
identification numbers, is attached as Exhibit A to these Global Notes.


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from 158,300 students to 112,400 students and net revenues decreased from $2,887.6 million to
$1,936.5 million in four years.

         D.     In November 2015, the Company entered into settlement agreements with (i) the
U.S. Department of Justice, 12 state attorneys general, the District of Columbia and relators
resolving four cases filed under federal and state False Claims Acts, and (ii) 39 state attorney
generals and the District of Columbia to end state-level investigations into recruiting practices
(the “2015 Settlements”). The 2015 Settlements required the Company to pay $95.5 million and
forgive approximately $100 million of loans to certain students who attended the Company’s
institutions between January 1, 2006 and December 31, 2014.

        E.    As a result of the 2015 Settlements and continued worsening operating results, the
Company undertook a substantial restructuring of its business, starting in late 2015 and early
2016, which included the teach-out2 of a substantial number of lower performing school
locations. The teach-outs included 19 of the 51 Art Institute locations, 22 of the 26 Brown
Mackie College locations and one Argosy University campus. The Company spent significant
sums to teach-out these school locations, including the payment of obligations that otherwise
would not have been funded, with the final school teach-outs completed in December 2017.

        F.     The Company also engaged an investment advisor to pursue the sale of the school
locations that were not being taught-out. The Company pursued a number of transaction
opportunities to maximize the value of its remaining assets and consummated the following sale
transactions:

                 (i)      On July 1, 2016, the Company sold The Connecting Link II, LLC (“The
                          Connecting Link”) to Triad Learning Systems, LLC and Taylor Study
                          Method, LLC for the payment to the Company of $1.7 million.

                 (ii)     In January 2017, the Company and/or its affiliates sold assets associated
                          with the Brown Mackie College campuses located in Bettendorf, Iowa;
                          Hopkinsville, Kentucky; and North Canton, Ohio to Ross Education, LLC
                          (“Ross Education”) and paid Ross Education $2.0 million in connection
                          with the sale. The purchase price was subject to a final net working capital
                          adjustment, which resulted in an additional amount of $0.1 million due to
                          Ross Education.

                 (iii)    On January 31, 2017, the Company sold equity interests in The Art
                          Institute of Vancouver to College LaSalle International Inc. and 1092880
                          B.C. LTD. (the “AiV Purchasers”) for the payment to the Company of
                          $16.0 million, with $2.0 million of the purchase price paid to an escrow
                          established for potential claims by the AiV Purchasers. The purchase price
                          was subject to a post-closing adjustment to the extent working capital at
                          The Art Institute of Vancouver on the closing date was greater than or less
                          than negative $2.3 million, which resulted in $0.5 million due to the AiV
                          Purchasers.
2
 By “teach out”, Debtors mean that they stopped accepting new students but worked with all existing students to
complete their degrees.


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               (iv)    On January 18, 2017, the Company and certain of its subsidiaries entered
                       into an Asset Purchase Agreement (the “DCF Purchase Agreement”) with
                       Dream Center Foundation (“DCF”), a not for profit entity, and certain of
                       its newly formed subsidiaries (collectively with DCF, the “DCF Buyers”)
                       for the sale of substantially all of the Company’s remaining school
                       locations, specifically South University, Argosy University (including one
                       campus being taught-out), and all of the “core” Art Institutes school
                       locations (other than The Art Institute of Vancouver) which were not
                       being taught-out. The DCF Purchase Agreement was amended and
                       restated on February 24, 2017 and further amended on July 20, 2017 and
                       October 13, 2017. Under the final terms of the DCF Purchase Agreement:
                       (a) There were two closing dates due to a delay in the receipt of regulatory
                       approvals for institutions accredited by The Higher Learning Commission
                       (four locations) and Middle States Commission on Higher Education (two
                       locations including the fully online programs offered by The Art Institute
                       of Pittsburgh), with the first closing occurring on October 17, 2017 and the
                       second closing occurring on January 19, 2018.

       G.       Pursuant to a Transition Services Agreement executed in connection with the
DCF transaction, the DCF Buyers took possession and control of substantially all of the
Company and its’ affiliates books and records and agreed to provide certain administrative
services to the Company and its affiliates as they wound down business affairs.

         H.      Since late 2017, the Company and its remaining employees, with the assistance of
counsel and advisors and relying upon administrative services provided by the DCF Buyers, have
worked to, among other things: (i) complete audits required by the United States Department of
Education and state regulators and accrediting agencies; (ii) file tax returns; (iii) manage ongoing
litigation; (iv) communicate with creditors; (v) explore wind-down options; and (vi) prepare the
filing of these chapter 7 cases, including the Schedules and SOFAs.

       I.      Frank Jalufka, who served as CEO of Education Management Corporation and
President of each of its subsidiaries since December 2017, has signed each set of Schedules and
SOFAs. Nearly all of the source documents for the information contained in the Schedules and
SOFAs have been and continue to be in the possession of the DCF Buyers. The DCF Buyers
have provided information necessary for the completion of the Schedules and SOFAs as
requested by the Company under the Transition Services Agreement. In signing the Schedules
and SOFAs, Mr. Jalufka is attesting to the process used by Debtors’ remaining personnel and
professionals in gathering and presenting data in the Schedules and SOFAs. Mr. Jalufka has not
(and could not have) verified the completeness or accuracy of the financial data derived from
Debtors’ books and records in the possession of the DCF Buyers, including responses,
statements and representations concerning assets and liabilities of Debtors presented in the
Schedules and SOFAs.

       J.      Mr. Jalufka, Debtors and their respective agents, employees, attorneys and
advisors involved in the compilation and preparation of the Schedules and SOFAs (“Compilers”)
do not guarantee or warrant the accuracy or completeness of the data, responses, statements, and
representations that are provided in the Schedules and SOFAs, and none of the foregoing shall be


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liable for any loss or injury arising out of or caused in whole or in part by the acts, errors, or
omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained in the
Schedules and SOFAs. While commercially reasonable efforts have been made to provide
accurate and complete information in the Schedules and Statements, inadvertent errors or
omissions may exist. The Compilers expressly do not undertake any obligation to update,
modify, revise, or re-categorize the information provided in the Schedules and SOFAs, or
to notify any third party should the information be updated, modified, revised, or re-
categorized. In no event will the Compilers be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising
from the disallowance of a potential claim against Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused,
even if t h e C o m p i l e r s are advised of the possibility of such damages.

       K.     In light of the foregoing, the Schedules and SOFAs are limited and must be read
in connection with, and informed by, the following Global Notes and Statement of Limitations,
Overview of Methodology and Disclaimers Regarding Debtors’ Schedules and SOFAs (“Global
Notes”), which are incorporated by reference in, and comprise an integral part of, the Schedules
and SOFAs.

                          Global Notes and Statement of Limitations

        1.     Joint Administration. Because of the overlapping issues and creditors in
Debtors’ chapter 7 cases, Debtors expect that the trustee appointed in these chapter 7 cases will
seek joint administration of Debtors’ chapter 7 cases. Notwithstanding the expected joint
administration of the chapter 7 cases for procedural purposes, each Debtor has filed its own
Schedules and SOFA. The Compilers have endeavored to present information in the Schedules
and SOFAs as of the Petition Date but has not been able to do so consistently throughout. The
Compilers have endeavored to note those circumstances where information is not as of the
Petition Date.

        2.       Global Notes Control. These Global Notes pertain to and comprise an integral
part of all of the Schedules and SOFAs and should be referenced in connection with any review
thereof. In the event that the Schedules and SOFAs differ from these Global Notes, the Global
Notes control.

        3.      Reservations and Limitations. Reasonable efforts have been made to prepare
and file complete and accurate Schedules and SOFAs; however, as noted above, inadvertent
errors or omissions may exist. Debtors reserve all rights to amend or supplement the Schedules
and SOFAs as is necessary and appropriate. Nothing contained in the Schedules and SOFAs
constitutes a waiver of any of Debtors’ rights or an admission of any kind with respect to the
chapter 7 cases or otherwise, including, but not limited to, any rights or claims of Debtors against
any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.


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       4.      No Admission. Nothing contained in the Schedules and SOFAs is intended or
should be construed as an admission or stipulation of the validity of any claim against Debtors,
any assertion made therein or herein, or a waiver of Debtors’ rights to dispute any claim or assert
any cause of action or defense against any party.

        5.     Recharacterization. Notwithstanding that Debtors have made reasonable efforts
to correctly characterize, classify, categorize, or designate certain claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and SOFAs, Debtors
nonetheless may have improperly characterized, classified, categorized, or designated certain
items. Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
items reported in the Schedules and SOFAs at a later time as is necessary and appropriate.

        6.     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
Schedule E as “priority,” (iii) a claim on Schedule F as “unsecured,” or (iv) a contract on
Schedule G as “executory” or “unexpired” does not constitute an admission by Debtors of the
legal rights of the claimant, or a waiver of Debtors’ right to recharacterize or reclassify such
claim or contract.

        7.      Claims Description. Due to the circumstances surrounding the filing of the
chapter 7 cases, Debtors have been unable to verify the validity and amounts of many creditors’
claims, or the creditor claims reflected in the Debtors’ books do not include unprocessed claims,
either because processing of invoices was not completed or the Debtors had yet to receive
invoices for goods and services. As a result, Debtors have labeled many claims as disputed,
liquidated and/or contingent on the Schedules. Any failure to designate a claim on a given
Debtor’s Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the debtor that such amount is not “disputed,” “contingent,” or “unliquidated.”
Debtors reserve all rights to dispute, or assert offsets or defenses to, any claim (“Claim”)
reflected on their respective Schedules on any grounds, including, without limitation, liability or
classification, or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
“unliquidated” or object to the extent, validity, enforceability, priority, or avoidability of any
Claim. Moreover, listing a Claim does not constitute an admission of liability by a debtor against
which the Claim is listed or by any of Debtors. Debtors reserve all rights to amend their
Schedules and SOFAs as necessary and appropriate, including, but not limited to, with respect to
claim description and designation.

        8.     Estimates and Assumptions. The preparation of the Schedules and SOFAs
required Debtors to make reasonable estimates and assumptions with respect to the reported
amounts of assets and liabilities, the amount of contingent assets and contingent liabilities on the
date of the Schedules and SOFAs, and the reported amounts of revenues and expenses during the
applicable reporting periods. Actual results could differ from those estimates.

       9.      Causes of Action. Despite reasonable efforts, Debtors may not have identified
and/or set forth all of their causes of action (filed or potential) against third parties as assets in
their Schedules and SOFAs, including, without limitation, avoidance actions arising under
chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
bankruptcy laws to recover assets. Debtors reserve all rights with respect to any causes of action,



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and nothing in these Global Notes or the Schedules and SOFAs should be construed as a waiver
of any such causes of action.

        10.     Insiders. Where the Schedules and Statements require information regarding
“insiders,” Debtors have included information with respect to individuals who served as officers
and directors (or the equivalent), as the case may be, during relevant time periods. Such
individuals no longer serve as an officer or director of Debtors. The listing of a party as an
insider for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. Information regarding the individuals listed as “insiders” in the Schedules and SOFAs
has been included for informational purposes only and such information may not be used for the
purposes of determining control of Debtors, the extent to which any individual exercised
management responsibilities or functions, corporate decision-making authority over Debtors, or
whether such individual could successfully argue that he or she is not an “insider” under
applicable law, including the Bankruptcy Code and federal securities laws, or with respect to any
theories of liability or any other purpose.

                          Overview of Methodology and Disclaimers

         1.     Basis of Presentation. For financial reporting purposes, Debtors and their
affiliates prepare consolidated financial statements that are audited annually. Unlike the
consolidated financial statements, these Schedules and SOFAs reflect the separate assets and
liabilities of each individual debtor. These Schedules and SOFAs do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles in
the United States (“GAAP”). The Schedules and SOFAs contain unaudited information that is
subject to further review and potential adjustment. The Schedules and SOFAs reflect the
Compilers’ reasonable efforts to report the assets and liabilities of each debtor on an
unconsolidated basis.

       2.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
or “undetermined” is not intended to reflect upon the materiality of such amount.

        3.     Totals. All totals that are included in the Schedules and SOFAs represent totals
of all known amounts. To the extent there are unknown or undetermined amounts, the actual
total may be different than the listed total.

        4.     Intercompany Transactions. As with most corporate enterprises of significant
size and complexity, Debtors operated a consolidated cash management system prior to the
Petition Date, which resulted in intercompany accounts payable and accounts receivable.
However, Debtors historically reported all financials on a consolidated basis. Intercompany
payables and receivables were historically “trued up” at the end of each fiscal year to account for
and allocate administrative and enterprise expenses to the proper party, but due to the
consolidated reporting structure and the several hundred million in intercompany and
intracompany transfers during any given year, that “true-up” could be materially misstated in any
given year. Debtors have not done a “true up” since the fiscal year ending June 30, 2017 and do
not have the resources to separate out intercompany obligations from the consolidated reporting


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structure at this time. As a result, Debtors’ schedules do not list intercompany payables and
receivables. Regardless of the foregoing, Debtors do not believe that any intercompany
obligations have any realizable value.

        5.     Setoffs. Debtors routinely incur setoffs and net payments in the ordinary course of
business. Such setoffs and nettings may occur due to a variety of transactions or disputes,
including but not limited to, intercompany transactions, rebates, returns, refunds, negotiations, or
application of prepayments or deposits. It would be unduly burdensome on Debtors’ limited
resources to list each such potential transaction, and all such potential setoff claims cannot be
reasonably discerned at this time. Therefore, although such setoffs and other similar rights may
have been accounted for when scheduling certain amounts, these ordinary course setoffs are not
independently accounted for, and as such, are or may be excluded from the Schedules and
SOFAs. In addition, some amounts listed in the Schedules and SOFAs may have been affected
by setoffs or nettings by third parties of which Debtors were not aware. Debtors reserve all rights
to challenge any setoff and/or recoupment rights that may be asserted.

                                 Specific Schedules Disclosures

       1.      Schedule A/B, Question 3. Historically, Debtors and their affiliates maintained
more than four hundred bank accounts, the majority of which were zero balance deposit accounts
that were swept daily into concentration accounts. Debtors, with assistance from treasury
services of the DCF Buyers, have worked over the last several months to close all but a handful
of those accounts. Debtors believe that they have disclosed all remaining open accounts in
response to question 3 on the respective Schedules. However, certain accounts may still be open
for which Debtors lack knowledge.

       2.     Schedule A/B, Questions 6, 7 and 8. Debtors historically made prepayments in
the ordinary course of business for utilities, taxes, rent, and other ordinary course supplies.
Despite reasonable diligence, Debtors have been unable to identify any prepayments or deposits
that remain unapplied. Further, in the weeks leading up to the filing of these cases, Debtors
made several deposits and/or prepayments for professional services. Debtors have not disclosed
those prepayments or deposits in response to questions 6 through 8 on the Schedules because
those prepayments and deposits will be disclosed in the SOFAs or other Court pleadings.

        3.     Schedule A/B, Questions 10-12. As discussed above, Debtors have not trued up
intercompany accounts payable/receivable since the fiscal year ending June 30, 2017. As a
result, and because Debtors believe that any such intercompany accounts receivable have no
realizable value, Debtors have not listed any accounts receivable in response to questions 10
through 12 on the Schedules.

        4.      Schedule D – Creditors Holding Secured Claims. Debtors have not included
on Schedule D parties that may believe their claims are secured through setoff rights or inchoate
statutory lien rights. Except as otherwise agreed with a party asserting a secured claim or
pursuant to an order of the Bankruptcy Court, Debtors reserve the right to dispute or challenge
the validity, perfection or priority of any lien purported to be granted or perfected in any specific
asset to a creditor listed on Schedule D. The descriptions provided on Schedule D are intended
only as a summary. Reference to the applicable loan agreements and related documents is


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necessary for a complete description of the collateral and the nature, extent and priority of any
liens. Nothing in any Schedule D shall be deemed a modification, interpretation, or waiver of
the terms of any such agreements.

        5.     Schedule E – Creditors Holding Unsecured Priority Claims. Debtors believe
that they have paid all employee claims and all claims of taxing authorities through December
2017. Debtors have attempted to schedule the claims of taxing authorities of which they are
aware, but there may be tax claims arising prior to the Petition Date which have not yet been
assessed or payable by Debtors.

        6.      Schedule F – Creditors Holding Unsecured Nonpriority Claims. As of the
time of filing of the Schedules and SOFAs, Debtors may not have received all invoices for
payables, expenses, and other liabilities that may have accrued prior to the Petition Date.
Accordingly, the information contained in Schedule F may be incomplete. The Debtors reserve
their rights, but undertake no obligations, to amend Schedule F if and as they receive invoices
and as more information is received. Further, Debtors have scheduled landlord claims in the
amounts allowable under 11 U.S.C. § 502(b)(6), calculated from the date that a respective debtor
surrendered possession of the leased premises.

        7.     Schedule G – Executory Contracts. While every effort has been made to ensure
the accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a
contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. Debtors hereby reserve all of their rights to
dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary.

                                   Specific SOFAs Disclosures

        1.     Questions 1 and 2. Debtors generally report income on a consolidated basis. As
a result, gross income reported in response to question 1 on the SOFAs may be materially
misstated.

       2.      Question 3. Prior to the Petition Date, Debtors maintained a centralized cash
management system through which the Company and certain other “paymaster” entities made
payments on behalf of subsidiaries. Consequently, all payments to creditors and insiders listed in
response to Questions 3b and 3c on each of the SOFAs likely reflect transfers made by the
Company or another paymaster entity for the benefit of a respective Debtor. Debtors have
attempted to tie each transfer to the respective Debtor on whose account it was made but do not
warrant or guarantee the accuracy of such listings.

       3.     Question 4. In response to question 4 on the SOFAs, Debtors restate and
incorporate by reference the disclaimer listed under paragraph 10 of the Global Notes and
Statement of Limitations above.

        4.    Question 5. On June 25, 2018, at the request of US Bank National Association
(the “Agent”) as Administrative Agent for the “Lenders” and Collateral Agent for the “Secured
Parties” (each as defined in a Credit and Guaranty Agreement and a Pledge and Security


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Agreement, each dated as of January 5, 2015 and as each have been amended from time to time),
the Company, Education Management Corporation (“Parent”), Education Management Holdings
II, LLC (“Holdings”), and certain debtor and non-debtor subsidiaries of Holdings (together with
Company, Parent, and Holdings, the “Credit Parties”) entered into a Surrender of Collateral,
Consent to Partial Strict Foreclosure, and Release Agreement (UCC 9-620) (the “PSFA”),
pursuant to which the Credit Parties surrendered to Agent peaceful possession, right, title and
interest in and to certain “Surrendered Collateral”, defined and described in Exhibit 1 to the
PSFA. The Exhibit defining and describing the Surrendered Collateral is attached to the SOFAs
as schedule 2.5.

       5.      Question 7. Debtors have listed all legal actions and administrative proceedings
of which they have knowledge, but there may be other actions that have been filed against
Debtors of which Debtors have not, as of the Petition Date, received notice. Further, Debtors’
description of the nature or status of each proceeding may be incorrect or incomplete. Such
descriptions do not constitute an admission as to any facts in such proceedings or a waiver of
Debtors’ rights with respect thereto.

         6.    Question 18. See disclosure 1 in the Specific Schedules Disclosures section
above.

        7.      Question 26d. Debtors have not listed every person to whom they have issued
financial statements within two years of the Petition Date, as that list would number in the
hundreds if not thousands. Debtors routinely, in the ordinary course of their businesses,
provided financial and other statements to: (i) the United States Department of Education; (ii)
accrediting agencies; (iii) state attorneys general and regulatory agencies; (iv) lenders to and
investors in Debtors and affiliates; (v) auditors listed in response to questions 26a through c; (vi)
actual and potential purchasers of assets, business lines and campus locations; (vii) various credit
card processors; (viii) existing and prospective insurers; (ix) insurance brokers; (x) surety
underwriters and surety brokers; (xi) third party educational lenders and collection agencies; (xii)
landlords; (xiii) litigation counterparties; and (xiv) various vendors.

        8.      Questions 28 and 29. The individuals listed in response to questions 28 and 29
no longer serve as an officer or director of Debtors. The listing of a party as an officer or
director for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. The individuals have been included for informational purposes only and such
information may not be used for the purposes of determining control of Debtors or the extent to
which any individual exercised management responsibilities or functions, corporate decision-
making authority over Debtors.




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Dated: July 2, 2018
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                                               EXHIBIT A

                                    Debtor                                     FEIN

 1       Education Management II LLC                                    XX-XXXXXXX

 2       American Education Centers, Inc.                               XX-XXXXXXX
 3       Argosy Education Group, Inc.                                   XX-XXXXXXX
 4       Argosy University of California LLC                            XX-XXXXXXX
 5       Brown Mackie College - Tucson, Inc.                            86-026-4601
 6       Education Finance III LLC                                      XX-XXXXXXX
 7       Education Management Corporation                               XX-XXXXXXX
 8       Education Management Holdings II LLC                           XX-XXXXXXX
 9       Education Management LLC                                       XX-XXXXXXX
 10      Higher Education Services II LLC                               XX-XXXXXXX
 11      Miami International University of Art & Design, Inc.           XX-XXXXXXX
 12      South Education – Texas LLC                                    XX-XXXXXXX
 13      South University of Alabama, Inc.                              XX-XXXXXXX
 14      South University of Carolina, Inc.                             XX-XXXXXXX
 15      South University of Florida, Inc.                              XX-XXXXXXX
 16      South University of Michigan, LLC                              XX-XXXXXXX
 17      South University of North Carolina LLC                         XX-XXXXXXX
 18      South University of Ohio LLC                                   XX-XXXXXXX
 19      South University of Virginia, Inc.                             XX-XXXXXXX
 20      South University Research II LLC                               XX-XXXXXXX
 21      South University, LLC                                          XX-XXXXXXX
 22      Stautzenberger College Education Corporation                   XX-XXXXXXX
 23      TAIC-San Diego, Inc.                                           XX-XXXXXXX
 24      TAIC-San Francisco, Inc.                                       XX-XXXXXXX
 25      The Art Institutes International Minnesota, Inc.               XX-XXXXXXX
 26      The Art Institute of Atlanta, LLC                              XX-XXXXXXX
 27      The Art Institute of Austin, Inc.                              XX-XXXXXXX
 28      The Art Institute of California-Hollywood, Inc.                XX-XXXXXXX
 29      The Art Institute of California-Inland Empire, Inc.            XX-XXXXXXX



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 30      The Art Institute of California - Los Angeles, Inc.             XX-XXXXXXX

 31      The Art Institute of California-Orange County, Inc.             XX-XXXXXXX

 32      The Art Institute of California-Sacramento, Inc.                XX-XXXXXXX
 33      The Art Institute of Charleston, Inc.                           XX-XXXXXXX
 34      The Art Institute of Charlotte, LLC                             XX-XXXXXXX
 35      The Art Institute of Colorado, Inc.                             XX-XXXXXXX
 36      The Art Institute of Dallas, Inc.                               XX-XXXXXXX
 37      The Art Institute of Fort Lauderdale, Inc.                      XX-XXXXXXX
 38      The Art Institute of Houston, Inc.                              XX-XXXXXXX
 39      The Art Institute of Indianapolis, LLC                          XX-XXXXXXX
 40      The Art Institute of Las Vegas, Inc.                            XX-XXXXXXX
 41      The Art Institute of Michigan, Inc.                             XX-XXXXXXX
 42      The Art Institute of Philadelphia LLC                           XX-XXXXXXX
 43      The Art Institute of Pittsburgh LLC                             XX-XXXXXXX
 44      The Art Institute of Portland, Inc.                             XX-XXXXXXX
 45      The Art Institute of Raleigh-Durham, Inc.                       XX-XXXXXXX

 46      The Art Institute of St. Louis, Inc.                            XX-XXXXXXX
 47      The Art Institute of San Antonio, Inc.                          XX-XXXXXXX
 48      The Art Institute of Seattle, Inc.                              XX-XXXXXXX
 49      The Art Institute of Tampa, Inc.                                XX-XXXXXXX
 50      The Art Institute of Tennessee-Nashville, Inc.                  XX-XXXXXXX
 51      The Art Institute of Virginia Beach LLC                         XX-XXXXXXX
 52      The Art Institute of Washington, Inc.                           XX-XXXXXXX
 53      The Art Institutes International II LLC                         XX-XXXXXXX
 54      The Illinois Institute of Art at Schaumburg, Inc.               XX-XXXXXXX
 55      The Illinois Institute of Art, Inc.                             XX-XXXXXXX
 56      The Institute of Post-Secondary Education, Inc.                 XX-XXXXXXX

 57      The New England Institute of Art, LLC                           XX-XXXXXXX

 58      The University of Sarasota, Inc.                                XX-XXXXXXX

 59      Western State University of Southern California                 XX-XXXXXXX




#49291498 v1
                                           Case 18-11535-CTG                                     Doc 6              Filed 07/03/18                        Page 13 of 45


 Fill in this information to identify the case:

             The Art Institute of Philadelphia LLC
 Debtor name _________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                  (State)
 Case number (If known):               18-11535
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                 $ ________________
          Copy line 88 from Schedule A/B ......................................................................................................................................
                                                                                                                                                                                                   Plus Unknown

     1b. Total personal property:
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                 $ ________________
          Copy line 91A from Schedule A/B ....................................................................................................................................                     Plus Unknown

     1c. Total of all property:
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                 $ ________________
          Copy line 92 from Schedule A/B ......................................................................................................................................                    Plus Unknown




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                      566,890,806.29
                                                                                                                                                                                                 $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..............................................
                                                                                                                                                                                                   Plus Unknown
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F .....................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                 $ ________________
                                                                                                                                                                                                   Plus Unknown
     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                           9,496.00
                                                                                                                                                                                              + $ ________________
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ..........................................................
                                                                                                                                                                                                   Plus Unknown



4. Total liabilities ......................................................................................................................................................................
                                                                                                                                                                                                      566,900,302.29
                                                                                                                                                                                                 $ ________________
     Lines 2 + 3a + 3b                                                                                                                                                                             Plus Unknown




  Official Form 206Sum                                       Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
                                 Case 18-11535-CTG               Doc 6           Filed 07/03/18         Page 14 of 45
  Fill in this information to identify the case:

               The Art Institute of Philadelphia LLC
  Debtor name __________________________________________________________________

                                                                              Delaware
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):    18-11535
                             _________________________                                                                               Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   ✔ No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔ No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        See Global Notes
   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                   page 1
                                Case 18-11535-CTG                  Doc 6        Filed 07/03/18              Page 15 of 45
Debtor         The Art Institute of Philadelphia LLC
               _______________________________________________________                                                 18-11535
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    ✔ No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    ✔ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                              Case 18-11535-CTG                      Doc 6     Filed 07/03/18         Page 16 of 45
Debtor        The Art Institute of Philadelphia LLC
              _______________________________________________________                                               18-11535
                                                                                             Case number (if known)_____________________________________
              Name




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last         Net book value of     Valuation method used        Current value of
                                                    physical inventory       debtor's interest     for current value            debtor’s interest
                                                                             (Where available)
19. Raw materials
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                             $______________________
                                                    MM / DD / YYYY
                                                                             $__________________   ______________________


23. Total of Part 5                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                    Net book value of     Valuation method used        Current value of debtor’s
                                                                             debtor's interest     for current value            interest
                                                                             (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________             $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________             $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________             $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________             $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________             $________________     ____________________      $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                  page 3
                               Case 18-11535-CTG                   Doc 6        Filed 07/03/18         Page 17 of 45
Debtor          The Art Institute of Philadelphia LLC
               _______________________________________________________                                               18-11535
                                                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________     ____________________      $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________      $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________      $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                              Case 18-11535-CTG                  Doc 6       Filed 07/03/18         Page 18 of 45
 Debtor       The Art Institute of Philadelphia LLC
              _______________________________________________________                                             18-11535
                                                                                           Case number (if known)_____________________________________
              Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                               Case 18-11535-CTG                     Doc 6        Filed 07/03/18          Page 19 of 45
Debtor          The Art Institute of Philadelphia LLC
               _______________________________________________________                                                  18-11535
                                                                                                 Case number (if known)_____________________________________
               Name




Part 9:   Real property

54. Does the debtor own or lease any real property?
    
    ✔ No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    ✔ Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
     None
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
     None
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
     None
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
     Student records
    ______________________________________________________________                             0.00
                                                                                  $_________________     ______________________                        0.00
                                                                                                                                      $____________________

64. Other intangibles, or intellectual property
     None
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
     None
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                                  0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
                                  Case 18-11535-CTG               Doc 6       Filed 07/03/18             Page 20 of 45
Debtor           The Art Institute of Philadelphia LLC
                _______________________________________________________                                              18-11535
                                                                                              Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
    
    ✔ Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
    
    ✔ Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
     None
                                                                    _______________ –     __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

     None
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     None
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See Attached
    ______________________________________________________________                                                                               Unknown
                                                                                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     None
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property
     None
    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    None
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________
78. Total of Part 11.
                                                                                                                                               Unknown
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 7
                   Case 18-11535-CTG              Doc 6       Filed 07/03/18   Page 21 of 45




The Art Institute of Philadelphia LLC                             Case Number: 18-11535

Part 11: Schedule A/B:                 Assets - Real and Personal Property
         All other assets
74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                             Amount        Current value of
                      Description and Nature of claim                       requested      debtor's interest

74.1     Potential claims against Dream Center Education Holdings LLC                                unknown
         and/or related entities arising under or as a result of an asset
         purchase agreement entered into by and between debtor,
         related entities, Dream Center Education Holdings LLC and
         related entities.

                                                                                   TOTAL             unknown
                                     Case 18-11535-CTG                             Doc 6           Filed 07/03/18                  Page 22 of 45
Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                                     18-11535
                                                                                                                       Case number (if known)_____________________________________
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                 $_______________

84. Inventory. Copy line 23, Part 5.                                                                   $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                       $_______________
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________


88. Real property. Copy line 56, Part 9. . .................................................................................. Î           $________________

                                                                                                                    0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                                Unknown
                                                                                                  + $_______________

                                                                                                          0.00+Unknown
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................       0.00 + Unknown
                                                                                                                                                               $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
                                        Case 18-11535-CTG                Doc 6           Filed 07/03/18            Page 23 of 45
 Fill in this information to identify the case:
Debtor name      The Art Institute of Philadelphia, LLC
United States Bankruptcy Court for the:                                          District of   Delaware
                                                                                                (State)
Case number (If known):
                                 18-11535
                                                                                                                                                Check if this is an
Official Form 206D                                                                                                                              amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

Part 1:                                                                                                                 Column A                               Column B
              List Creditors Who Have Secured Claims
                                                                                                                                 Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                     that supports this
                                                                                                                                     Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                               the value                   claim
2. 1      Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                  $566,890,806.29                 UNKNOWN
          US BANK NATIONAL ASSOCIATION, AS                       Substantially all assets
s2226
          ADMINISTRATIVE AND COLLATERAL AGENT
          Creditor's Mailing Address

          214 N TRYON STREET 26TH FLOOR
          CHARLOTTE, NC 28202




          Creditor's email address, if known
                                                                 Describe the lien
                                                                 VOLUNTARY SECURITY INTEREST GRANTED PURSUANT TO CREDIT AGREEMENT AND
          Date debt was incurred                                 RELATED DOCUMENTS
          January 5, 2015

          Last 4 digits of account number
                                                                 Is the creditor an insider or related party?
          Unknown
                                                                      No
          Do multiple creditors have an interest in the               Yes
          same property?                                         Is anyone else liable on this claim?
              No                                                     No.
              Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              relative priority?

                 No. Specify each creditor, including this       As of the petition filing date, the claim is:
                 creditor and its relative priority.
                                                                 Check all that apply.
                                                                    Contingent
                 Yes. The relative priority of creditors            Unliquidated
                 is specified on lines                              Disputed




Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
                                      Case 18-11535-CTG
            The Art Institute of Philadelphia, LLC
                                                                             Doc 6          Filed 07/03/18              Page 24 of 45
                                                                                                                                   18-11535
Debtor
           Name                                                                                                                    Case Number (if known)

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digits of account
                                                                                                         enter the related creditor?                    number for this entity



     ALLEN & OVERY LLP                                                                                   s2226
     ATTN: JUDAH FROGEL
     1221 AVENUE OF THE AMERICAS
     NEW YORK, NY 10020

     MORRISON & FOERSTER LLP                                                                             s2226
     ATTN: GARY LEE
     250 WEST 55TH STREET
     NEW YORK, NY 10019-9601

     WINSTON & STRAWN, LLP                                                                               s2226
     ATTN: BART PISELLA
     200 PARK AVENUE
     NEW YORK, NY 10166-4193




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 2 of 3
                                Case 18-11535-CTG             Doc 6      Filed 07/03/18          Page 25 of 45
          The Art Institute of Philadelphia, LLC                                                             18-11535
Debtor
          Name                                                                                         Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                             Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                                   3a.                     $566,890,806.29
                                                                                                      ____________________________




Official Form 206D                   Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 3
                                      Case 18-11535-CTG                Doc 6           Filed 07/03/18                Page 26 of 45
 Fill in this information to identify the case:
Debtor name       The Art Institute of Philadelphia, LLC
United States Bankruptcy Court for the:                                         District of   Delaware
                                                                                              (State)
Case number (If known):
                                18-11535
                                                                                                                                      Check if this is an
Official Form 206E/F                                                                                                                  amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                      12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:        All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?

         No. Go to Part 2
         Yes                                                                                                                                     Priority Amount
                                                                                                                              Total Claim
2. 1   Priority creditor's name and mailing address                  As of the petition filing date, the claim is:

                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed


       Date or dates debt was incurred                               Basis for the claim:



       Last 4 digits of account number

                                                                     Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured                      No
       claim: 11 U.S.C. § 507(a) (________)                               Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 6
                                  Case 18-11535-CTG               Doc 6       Filed 07/03/18                Page 27 of 45
  The Art Institute of Philadelphia, LLC                                                                                      18-11535
  Debtor Name                                                                                                         Case Number (if known)


Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                                 Amount of Claim

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
3. 1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          UNKNOWN
s9619      ARIEL PETERSON                                                     Check all that apply.
           724 GLENVIEW ST.                                                      Contingent
           PHILADELPHIA, PA 19111                                                Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          UNKNOWN
s9645      CROSS PROPERTIES                                                   Check all that apply.
           ADDRESS UNAVAILABLE AT TIME OF FILING                                 Contingent
                                                                                 Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          UNKNOWN
s9670      GOODWIN, ERICA AND JACKSON C GOODWIN                               Check all that apply.
           JOHN H TUCKER, ESQ                                                    Contingent
           TUCKER LAW GROUP, LLC                                                 Unliquidated
           ONE PENN CENTER AT SUBURBAN STATION                                   Disputed
           1617 JFK BLVD, STE 1700
           PHILADELPHIA, PA 19103
           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                          UNKNOWN
s9758      SIN, RICHARD, AS ADMINISTRATOR OF THE ESTATE OF                    Check all that apply.
           REBECCA KIM, DECEASED                                                 Contingent
           SAMUEL J PACE                                                         Unliquidated
           1880 J F K BLVD, 14TH FLOOR                                           Disputed
           PHILADELPHIA, PA 19103

           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 2 of 6
                                  Case 18-11535-CTG             Doc 6      Filed 07/03/18               Page 28 of 45
  The Art Institute of Philadelphia, LLC                                                                                  18-11535
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 5       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          UNKNOWN
s9759      SMITH, ROXANN                                                  Check all that apply.
           ADDRESS UNAVAILABLE AT TIME OF FILING                             Contingent
                                                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 6       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          UNKNOWN
s9770      THOMAS, ANYTA ELAINE                                           Check all that apply.
           ADDRESS UNAVAILABLE AT TIME OF FILING                             Contingent
                                                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 7       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          UNKNOWN
s9790      WOLFE-RITTS, MORGAN                                            Check all that apply.
           ADDRESS UNAVAILABLE AT TIME OF FILING                             Contingent
                                                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LITIGATION

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 8       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $4,092.00
s9216      JONES DAY                                                      Check all that apply.
           PO BOX 70294                                                      Contingent
           CLEVELAND, OH 44190-0294                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3 of 6
                                  Case 18-11535-CTG             Doc 6      Filed 07/03/18               Page 29 of 45
  The Art Institute of Philadelphia, LLC                                                                                  18-11535
  Debtor Name                                                                                                     Case Number (if known)

Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                             Amount of Claim
3. 9       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                            $5,404.00
s9217      SCHNADER HARRISON SEGAL & LEWIS LLP                            Check all that apply.
           CYD PENNINGTON                                                    Contingent
           1600 MARKET STREET                                                Unliquidated
           SUITE 3600                                                        Disputed
           PHILADELPHIA, PA 19103

           Date or dates debt was incurred                                Basis for the claim:    TRADE PAYABLE

           Last 4 digits of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4 of 6
                                      Case 18-11535-CTG                      Doc 6         Filed 07/03/18              Page 30 of 45
  The Art Institute of Philadelphia, LLC                                                                                                18-11535
  Debtor Name                                                                                                                    Case Number (if known)


Part 3:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified forclaims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digits of account
                                                                                                         you enter the related creditor?                 number for this entity




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 5 of 6
                               Case 18-11535-CTG          Doc 6      Filed 07/03/18        Page 31 of 45
 The Art Institute of Philadelphia, LLC                                                              18-11535
 Debtor Name                                                                                    Case Number (if known)


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                    Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                           $0.00
                                                                                                ____________________________




                                                                                                               $9,496.00
5b. Total Claims from Part 2                                                         5b.    +   ____________________________
                                                                                                         PLUS UNKNOWN




5c. Total of Parts 1 and 2                                                           5c.                       $9,496.00
                                                                                                ____________________________
    Lines 5a + 5b = 5c.                                                                                  PLUS UNKNOWN




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 6
                                  Case 18-11535-CTG                Doc 6       Filed 07/03/18            Page 32 of 45
  Fill in this information to identify the case:
  Debtor name The Art Institute of Philadelphia, LLC

  United States Bankruptcy Court for the:                                     District of   Delaware
                                                                                            (State of)
  Case Number (if known):       18-11535                                        Chapter     7                                    Check if this is an
                                                                                                                                 amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                              12/15

  Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                          State the name and mailing address for all
                                                                                                    other parties with whom the debtor has an
                                                                                                    executory contract or unexpired lease
           State what the contract or      TRANSITION SERVICES AGREEMENT                            DREAM CENTER EDUCATION HOLDINGS, LLC,
2. 1       lease is for and the nature                                                              DREAM CENTER EDUCATION MANAGEMENT LLC
           of the debtor’s interest                                                                 AND THE DREAM CENTER FOUNDATION
                                                                                                    C/O RANDY BARTON, ESQ.
           State the term remaining                                                                 DREAM CENTER EDUCATION HOLDINGS, LLC
                                                                                                    1400 PENN AVENUE
          List the contract number of
                                                                                                    PITTSBURGH, PA 15222
          any government contract
                                                                                                    ADDITIONAL NOTICE PARTY:
                                                                                                    DREAM CENTER EDUCATION HOLDINGS, LLC
                                                                                                    ATTN: LAW DEPARTMENT
                                                                                                    1400 PENN AVENUE
                                                                                                    PITTSBURGH, PA 15222




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
                                 Case 18-11535-CTG                  Doc 6       Filed 07/03/18           Page 33 of 45
 Fill in this information to identify your case:
 Debtor 1       The Art Institute of Philadelphia, LLC

 United States Bankruptcy Court for the:                                      District of   Delaware
                                                                                            (State of)
 Case Number (if known):       18-11535                                         Chapter     7                                          Check if this is an
                                                                                                                                       amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                              12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
        No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                     Column 2: Creditor                                  Check all schedules
                                                                                                                                    that apply:
         Name and Mailing Address                                               Name
         AICA-IE RESTAURANT, INC.                                               US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.1      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AID RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.2      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIH RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.3      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIIM RESTAURANT, INC.                                                  US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.4      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIIN RESTAURANT LLC                                                    US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.5      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G


         AIT RESTAURANT, INC.                                                   US BANK NATIONAL ASSOCIATION, AS                      D (s2226)
2.6      210 SIXTH AVENUE, 3RD FLOOR                                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                                     E/F

                                                                                                                                       G




Official Form 206H                                           Schedule H: Codebtors                                                    Page 1 of 12
                               Case 18-11535-CTG        Doc 6    Filed 07/03/18         Page 34 of 45
 Debtor The Art Institute of Philadelphia, LLC                             Case Number (if known):   18-11535
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                      Column 2: Creditor                             Check all schedules
                                                                                                                that apply:
         Name and Mailing Address                                Name
         AITN RESTAURANT, INC.                                   US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.7      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         AMERICAN EDUCATION CENTERS, INC.                        US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.8      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         ARGOSY EDUCATION GROUP, INC.                            US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.9      210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         ARGOSY UNIVERSITY OF CALIFORNIA LLC                     US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.10     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BMC REAL PROPERTY HOLDINGS LLC                          US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.11     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - ALBUQUERQUE LLC                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.12     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - BIRMINGHAM LLC                   US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.13     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - BOISE, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.14     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - DALLAS/FT. WORTH LLC             US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.15     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G


         BROWN MACKIE COLLEGE - GREENVILLE, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.16     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

                                                                                                                  G




Official Form 206H                                 Schedule H: Codebtors                                         Page 2 of 12
                               Case 18-11535-CTG       Doc 6    Filed 07/03/18         Page 35 of 45
 Debtor The Art Institute of Philadelphia, LLC                            Case Number (if known):   18-11535
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                     Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
         Name and Mailing Address                               Name
         BROWN MACKIE COLLEGE - INDIANAPOLIS, INC.              US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.17     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - KANSAS CITY LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.18     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - MIAMI NORTH LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.19     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - MIAMI, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.20     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - OKLAHOMA CITY LLC               US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.21     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - PHOENIX, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.22     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - SALINA LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.23     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - SAN ANTONIO LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.24     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - ST. LOUIS, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.25     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G


         BROWN MACKIE COLLEGE - TUCSON, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.26     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

                                                                                                                 G




Official Form 206H                                Schedule H: Codebtors                                         Page 3 of 12
                               Case 18-11535-CTG      Doc 6    Filed 07/03/18         Page 36 of 45
 Debtor The Art Institute of Philadelphia, LLC                           Case Number (if known):   18-11535
         Name

       Additional Page to List More Codebtors
         Column 1: Codebtor                                    Column 2: Creditor                             Check all schedules
                                                                                                              that apply:
         Name and Mailing Address                              Name
         BROWN MACKIE COLLEGE - TULSA, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.27     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                G


         BROWN MACKIE EDUCATION CORPORATION                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.28     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                G


         BROWN MACKIE EDUCATION II LLC                         US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.29     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                G


         EDMC EDU-PAC, THE EDUCATION MANAGEMENT                US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.30     CORPORATION                                           ADMINISTRATIVE AND COLLATERAL AGENT
         EMPLOYEE POLITICAL ACTION COMMITTEE, INC.                                                              E/F
         210 SIXTH AVENUE, 3RD FLOOR
         PITTSBURGH, PA 15222-2603                                                                              G


         EDMC MARKETING AND ADVERTISING, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.31     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION FINANCE II LLC                              US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.32     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION FINANCE III LLC                             US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.33     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT CORPORATION                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.34     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT ESCROW LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.35     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT FINANCE CORPORATION              US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.36     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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                                                                                                              that apply:
         Name and Mailing Address                               Name
         EDUCATION MANAGEMENT HOLDINGS II LLC                   US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.37     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT HOLDINGS LLC                      US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.38     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT II LLC                            US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.39     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         EDUCATION MANAGEMENT LLC                               US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.40     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         HIGHER EDUCATION SERVICES II LLC                       US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.41     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         HIGHER EDUCATION SERVICES, INC.                        US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.42     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         MIAMI INTERNATIONAL UNIVERSITY OF ART & DESIGN, INC.   US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.43     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         MICHIANA COLLEGE EDUCATION CORPORATION                 US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.44     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         SOUTH EDUCATION - TEXAS LLC                            US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.45     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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         SOUTH UNIVERSITY OF ALABAMA, INC.                      US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.46     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                              E/F

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                                                                                                               that apply:
         Name and Mailing Address                               Name
         SOUTH UNIVERSITY OF ARKANSAS LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.47     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF CAROLINA, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.48     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF FLORIDA, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.49     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF MICHIGAN, LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.50     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF NORTH CAROLINA LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.51     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF OHIO LLC                           US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.52     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF TENNESSEE, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.53     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY OF VIRGINIA, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.54     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY RESEARCH CORPORATION                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.55     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         SOUTH UNIVERSITY RESEARCH II LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.56     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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                                                                                                                that apply:
         Name and Mailing Address                                 Name
         SOUTH UNIVERSITY, LLC                                    US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.57     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         SOUTHERN OHIO COLLEGE LLC                                US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.58     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         STAUTZENBERGER COLLEGE EDUCATION CORPORATION             US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.59     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         TAIC-SAN DIEGO, INC.                                     US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.60     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         TAIC-SAN FRANCISCO, INC.                                 US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.61     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF ATLANTA, LLC                        US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.62     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF AUSTIN, INC.                        US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.63     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA - LOS ANGELES, INC.      US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.64     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA - SILICON VALLEY, INC.   US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.65     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF CALIFORNIA-HOLLYWOOD, INC.          US BANK NATIONAL ASSOCIATION, AS                D (s2226)
2.66     210 SIXTH AVENUE, 3RD FLOOR                              ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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                                                                                                               that apply:
         Name and Mailing Address                               Name
         THE ART INSTITUTE OF CALIFORNIA-INLAND EMPIRE, INC.    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.67     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CALIFORNIA-ORANGE COUNTY, INC.    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.68     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CALIFORNIA-SACRAMENTO, INC.       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.69     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CHARLESTON, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.70     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF CHARLOTTE, LLC                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.71     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF COLORADO, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.72     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF DALLAS, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.73     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF FORT LAUDERDALE, INC.             US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.74     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF FORT WORTH, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.75     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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         THE ART INSTITUTE OF HOUSTON, INC.                     US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.76     210 SIXTH AVENUE, 3RD FLOOR                            ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                               E/F

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                                                                                                                  that apply:
         Name and Mailing Address                                  Name
         THE ART INSTITUTE OF INDIANAPOLIS, LLC                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.77     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF JACKSONVILLE, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.78     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF LAS VEGAS, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.79     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF MICHIGAN, INC.                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.80     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF NEW YORK CITY, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.81     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF OHIO - CINCINNATI, INC.              US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.82     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF PITTSBURGH LLC                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.83     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF PORTLAND, INC.                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.84     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF RALEIGH-DURHAM, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.85     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                  E/F

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         THE ART INSTITUTE OF SALT LAKE CITY, INC.                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.86     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
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         Name and Mailing Address                                Name
         THE ART INSTITUTE OF SAN ANTONIO, INC.                  US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.87     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF SEATTLE, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.88     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF ST. LOUIS, INC.                    US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.89     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF TAMPA, INC.                        US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.90     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF TENNESSEE-NASHVILLE, INC.          US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.91     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF TUCSON, INC.                       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.92     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF VIRGINIA BEACH LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.93     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF WASHINGTON, INC.                   US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.94     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF WASHINGTON-DULLES, LLC             US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.95     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
         PITTSBURGH, PA 15222-2603                                                                                E/F

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         THE ART INSTITUTE OF WISCONSIN LLC                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.96     210 SIXTH AVENUE, 3RD FLOOR                             ADMINISTRATIVE AND COLLATERAL AGENT
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          THE ART INSTITUTE OF YORK- PENNSYLVANIA LLC               US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.97      210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
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          THE ART INSTITUTES INTERNATIONAL - KANSAS CITY, INC.      US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.98      210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ART INSTITUTES INTERNATIONAL II LLC                   US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.99      210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
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          THE ART INSTITUTES INTERNATIONAL LLC                      US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.100     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
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          THE ART INSTITUTES INTERNATIONAL MINNESOTA, INC.          US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.101     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
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          THE ASHER SCHOOL OF BUSINESS EDUCATION                    US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.102     CORPORATION                                               ADMINISTRATIVE AND COLLATERAL AGENT
          210 SIXTH AVENUE, 3RD FLOOR                                                                              E/F
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                                                                                                                   G


          THE CONNECTING LINK LLC                                   US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.103     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ILLINOIS INSTITUTE OF ART - TINLEY PARK LLC           US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.104     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ILLINOIS INSTITUTE OF ART AT SCHAUMBURG, INC.         US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.105     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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          THE ILLINOIS INSTITUTE OF ART, INC.                       US BANK NATIONAL ASSOCIATION, AS               D (s2226)
2.106     210 SIXTH AVENUE, 3RD FLOOR                               ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                                E/F

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Official Form 206H                                  Schedule H: Codebtors                                         Page 11 of 12
                               Case 18-11535-CTG       Doc 6    Filed 07/03/18         Page 44 of 45
 Debtor The Art Institute of Philadelphia, LLC                            Case Number (if known):   18-11535
          Name

        Additional Page to List More Codebtors
          Column 1: Codebtor                                    Column 2: Creditor                             Check all schedules
                                                                                                               that apply:
          Name and Mailing Address                              Name
          THE INSTITUTE OF POST-SECONDARY EDUCATION, INC.       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.107     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

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          THE NEW ENGLAND INSTITUTE OF ART, LLC                 US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.108     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                 G


          THE UNIVERSITY OF SARASOTA, INC.                      US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.109     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

                                                                                                                 G


          WESTERN STATE UNIVERSITY OF SOUTHERN CALIFORNIA       US BANK NATIONAL ASSOCIATION, AS                 D (s2226)
2.110     210 SIXTH AVENUE, 3RD FLOOR                           ADMINISTRATIVE AND COLLATERAL AGENT
          PITTSBURGH, PA 15222-2603                                                                              E/F

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Official Form 206H                                Schedule H: Codebtors                                         Page 12 of 12
                                 Case 18-11535-CTG                Doc 6           Filed 07/03/18               Page 45 of 45

 Fill in this information to identify the case and this filing:


              The Art Institute of Philadelphia LLC
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         
         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         
         ✔ Schedule H: Codebtors (Official Form 206H)
         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________
                      06/29/2018                           8 /s/ Frank W. Jalufka
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Frank W. Jalufka
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
